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                             UNITED STATES DISTRICT COURT
                             FOR THE DISTRICT OF COLUMBIA



UNITED STATES OF AMERICA

                v.                                  Case No. 1:19-cr-0125 (ABJ)

GREGORY B. CRAIG,

                     Defendant.


          DEFENDANT’S MOTION IN LIMINE TO EXCLUDE OPINION AND
          EXPERT TESTIMONY ON MEANING OF FARA OR OTHER LAW

       Defendant Gregory B. Craig, by his undersigned counsel, moves in limine to preclude

government witnesses, in particular Heather Hunt, from offering opinion or expert testimony

concerning the meaning of provisions of the Foreign Agents Registration Act (FARA), 22 U.S.C.

§ 611 et seq.

I.     INTRODUCTION

       This motion is prompted by the government’s notice of filing “to inform the Court that

the government will not call expert witnesses at trial during its case-in-chief.” ECF 41. An

exhibit to the notice explained, however, that the government does intend to elicit opinion

testimony from Heather Hunt, the longtime chief of the FARA Unit at the Department of Justice.

ECF 41-1. The government asserts that Ms. Hunt will testify as a fact witness, but the designated

topics make clear that significant portions of her contemplated testimony will be opinions and

legal conclusions based upon her special knowledge and experience so that she is offered as an

expert. But whether she is an expert or lay witness, the opinions and conclusions the government

seeks to elicit are inadmissible.
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       First, the government plans to ask Ms. Hunt “questions relevant to the materiality of Mr.

Craig’s statements and omissions—namely, whether she would have reversed her determination

[made on September 5, 2013] that Skadden and Mr. Craig had acted as Ukraine’s agents if she

had been provided accurate, truthful, and complete information about Mr. Craig’s dissemination

of the report and his media contacts.” ECF 41-1, at 1. Ms. Hunt cannot testify that Mr. Craig was

required to register under FARA; that is a legal conclusion that no witness, fact or expert, may

address at trial. See infra Part II.A. Nor should the government be permitted to offer the same

legal conclusion through a side door; for instance, by asking Ms. Hunt whether she, as the

director of the FARA Unit, would have required Mr. Craig to register had she known certain

(alleged) facts. Such testimony would be a legal conclusion. It would also mislead the jury; the

test of materiality is not what Ms. Hunt individually would have done, but what might have

influenced a reasonable agency official responsible for making the decision. See infra Part II.B.

       Second, the government proffers that Ms. Hunt will testify “consistent with” her grand

jury testimony and her government interviews as reported in FBI-302s. ECF 41-1, at 1. While the

government claims that none of her anticipated testimony on this or any other subject

“constitutes expert testimony,” id., the grand jury transcripts and FBI-302s tell a different story.

Ms. Hunt offered extensive opinions on the meaning of FARA – many of which are disputed by

Mr. Craig and some of which are demonstrably erroneous. Ms. Hunt’s interpretation of at least

three key components of FARA will be at issue in this case: the legal meaning of

“dissemination” of information to the public; the purpose a “person” must possess to trigger

FARA registration; and the duty to disclose all relevant information, or to supplement

information previously furnished to the FARA Unit, in response to the Unit’s informal inquiries.

Although the precise testimony the government intends to elicit on these topics is not clear, it is


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clear that they are inadmissible legal conclusions or expert opinions that may not be addressed

by Ms. Hunt. See infra Part II.C.

       Mr. Craig made no false statements or material omissions to the FARA Unit, and he was

not required to register under the statute. If the government is permitted to introduce evidence

suggesting that he was required to register, Mr. Craig expects to contest that issue vigorously,

with testimony and evidence from both expert and lay witnesses. This motion does not address or

seek a ruling on whether Mr. Craig was legally required to register, only the admissibility of Ms.

Hunt’s proffered testimony on that and related questions.

II.    ARGUMENT

       A.      Ms. Hunt may not testify that Mr. Craig was required to register under
               FARA

       Although Mr. Craig has not been charged with a willful failure to register under FARA,

the Indictment rests heavily on the government’s contention that he was legally required to do so.

See Indictment, ECF 1, at ¶ 42 (“As a result of these acts in furtherance of Ukraine’s public

relations strategy regarding the Report, CRAIG had an obligation under FARA to register as an

agent of Ukraine.”). Mr. Craig disputes this allegation, and we will if necessary demonstrate it is

not so. But the fact that the legal question is disputed does not make it ripe for lay or expert

testimony.

       We anticipate that the government will ask Ms. Hunt whether under all the facts she now

“knows” (or is presented by hypothetical questions), Mr. Craig had an obligation to register

under FARA. The provisions of FARA that define who is a foreign agent are not a model of

clarity. Nowhere is that difficulty more apparent than in attempting to apply the terms “publicity

agent,” “public relations counsel,” “dissemination,” and “for or in the interests of a foreign




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principal.” Ms. Hunt may work with and interpret those terms, but in this criminal case, her

interpretation is not admissible.

       Ms. Hunt’s proposed testimony is of course an expert opinion. More important, it

depends upon legal conclusions about the meaning of various FARA provisions and is plainly

inadmissible even if Ms. Hunt were offered and qualified as an expert. “An expert witness may

not deliver legal conclusions on domestic law, for legal principles are outside the witness’ area of

expertise under Federal Rule of Evidence 702.” Weston v. Washington Metro. Area Transit

Auth., 78 F.3d 682, 684 n.4 (D.C. Cir. 1996). As the Court of Appeals has explained, “Each

courtroom comes equipped with a ‘legal expert,’ called a judge, and it is his or her province

alone to instruct the jury on the relevant legal standards.” Burkhart v. Washington Metro. Area

Trans. Auth., 112 F.3d 1207, 1213 (D.C. Cir. 1997) (citation omitted). In Burkhart, for example,

the Court of Appeals held that the trial court erroneously permitted an expert witness to testify

whether police procedures conformed to the Americans with Disabilities Act (ADA). Many other

cases in this district and elsewhere prohibit testimony similar to the statements Ms. Hunt made to

the grand jury and the FBI. See National Ass’n of the Deaf v. District Hosp. Partners, 2016 U.S.

Dist. Lexis 13670 (D.D.C. Feb. 4, 2016) (granting motion to exclude expert’s testimony that

hospital complied with ADA); United States ex rel. Mossey v. PaL-Tech, Inc., 231 F. Supp. 2d

94, 98-99 (D.D.C. 2002) (striking expert report that analyzed whether contract at issue

constituted a “personal services contract” under Federal Acquisition Regulation); Halcomb v.

Washington Metro. Area Trans. Auth., 526 F. Supp. 2d 24, 27 (D.D.C. 2007) (expert “may not

testify as to the intent required to violate … the statute which plaintiff allegedly violated, nor

may he opine as to whether plaintiff actually did violate the statute”); HAAC Chile, S.A. v. Bland

Farms, LLC, 2008 U.S. Dist. Lexis 81859, at *18 (S.D. Ga. Aug. 26, 2008) (where case involved


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contractual compliance with Perishable Agricultural Commodities Act, proffered expert who

worked for USDA’s PACA branch for 30 years could not “discuss PACA regulations and

essentially tell the jury what the law is in this area.”); Steele v. DC Tiger Market, 854 A.2d 175,

184 (D.C. 2004) (“It is the responsibility of the judge alone to instruct the jury on the law and the

responsibility of the jury alone to apply that law to the facts.”).

       Accordingly, the Court should rule in limine that neither Ms. Hunt nor any other

government witness may offer factual or opinion testimony that Mr. Craig was required to

register under FARA.

       B.      Ms. Hunt may not express an opinion about what she personally would have
               thought or done had Mr. Craig provided different or additional information
               to the FARA Unit

       The government apparently plans to ask Ms. Hunt what she would have thought or done

as the Chief of the FARA Unit had she known certain (alleged) facts. As the government puts it:

Ms. Hunt will testify whether “she” would have reversed “her” earlier determination that

Skadden and Mr. Craig were agents of Ukraine (and therefore were required to register) if she

had been provided with certain facts. ECF 41-1, at 1. The government sees this testimony as

relevant to the materiality of the alleged false statements and omissions. On the contrary, it

effectively introduces an inadmissible expert opinion on the legal obligation to register.

       Materiality typically means that the false statement or omission has a natural tendency to

influence, or is capable of influencing, the decision of the decision-making body to which it was

addressed. Kungys v. United States, 485 U.S. 759, 770 (1998); see also Weinstock v. United

States, 231 F.2d 699, 701 (D.C. Cir. 1956) (“reasonably likely to influence the tribunal in

making a determination required to be made”). The relevant decision-making body in this case is

the Department of Justice or, arguably, DOJ’s FARA Unit. It is not the individual who serves as

the head of the FARA Unit or any other individual within the Unit. Moreover, the standard for
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materiality is objective, not subjective. See Neder v. United States, 527 U.S. 1, 22 n.5 (1999)

(citing Restatement test that a matter is material if “a reasonable man would attach importance to

its existence or nonexistence in determining his choice of action”); United States v. Philip

Morris USA, Inc., 566 F.3d 1095, 1122 (D.C. Cir. 2009) (“materiality requirement is met if the

matter at issue is ‘of importance to a reasonable person in making a decision about a particular

matter or transaction.’”). Thus, materiality is not a question of what any specific person would

have done, but whether a reasonable decision-maker might have been influenced by the omitted

or false information. And under United States v. Gaudin, 515 U.S. 506 (1995), materiality must

be decided by the jury.

       The government is not electing to have Ms. Hunt testify as a fact witness about practices

of her office; it intends to ask her to testify that she would have rendered a different decision on

behalf of the FARA Unit if Mr. Craig had provided information that she now believes to be

material.

       That testimony should be excluded because it mixes the roles of fact and expert witnesses

and it improperly places before the jury an inadmissible legal conclusion (that Mr. Craig was

required to file) as though it were a straightforward factual issue (that the Chief of the FARA

Unit believes he was required to file). If Ms. Hunt were to testify directly that Mr. Craig was

required to register, she clearly would be offering an inadmissible legal conclusion. See supra

Part II.A. She also would be offering an expert opinion because she would necessarily be

explaining what a reasonable FARA Unit decision-maker would have done – a topic that

requires “specialized knowledge.” See Fed. R. Evid. 701 (“If a witness is not testifying as an

expert, testimony in the form of an opinion is limited to one that is … (c) not based on scientific,

technical, or other specialized knowledge within the scope of Rule 702.”); Kumho Tire Co. v.


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Carmichael, 526 U.S. 137, 141 (1999) (district court’s gatekeeping function on admissibility of

expert testimony applies to testimony based on “other specialized” knowledge).1

        The Court should not permit the government to evade these evidentiary restrictions by

eliciting purported “fact” testimony that Ms. Hunt, as the head of the FARA Unit, would have

told Mr. Craig that he was legally required to register. This is effectively opinion testimony

about the legal obligation to register tendered by a lay witness. In addition, it would intrude on

the province of the Court, which has sole authority to instruct the jury on the law. And if the

obligation to register is a jury question, the issue is what a reasonable FARA Unit decision-

maker would have considered in making its decision. Testimony from the head of the FARA

Unit that “she” would have required registration is plainly improper and would lead to confusion

in the jury’s deliberations. See Fed. R. Evid. 403.

        Therefore, the Court should rule in limine that Ms. Hunt may not testify that she

personally, or the FARA Unit as an entity, would have required Mr. Craig to register had they

become aware of certain facts.

        C.       Ms. Hunt may not offer her opinion on the meaning of specific FARA
                 provisions and terms

        The government intends to have Ms. Hunt testify “consistent with” transcripts of her

grand jury testimony and FBI-302s. These documents abound with inadmissible statements. We

address below the three topics that appear most problematic, while reserving all rights to object

at trial if the government selects some other, less foreseeable topics that were touched upon in

Ms. Hunt’s interviews or grand jury testimony.


1
 The government may contend that Ms. Hunt could qualify as an expert on what a reasonable decision-maker in the
FARA Unit would find significant. Perhaps so, but the government has not offered Ms. Hunt as an expert, so the
question is not ripe. Moreover, the Federal Rules include procedural protections when an opposing party proffers
expert testimony, including notice, right to voir dire, advance determination of reliability, and so forth. If the
government intends to elicit expert opinions from Ms. Hunt, it should have followed the rules, and the scheduling
order, and provided a proper designation.
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                1.       The legal meaning of “dissemination”

         Under FARA § 611(c)(1), a person who engages within the United States as a “publicity

agent” may be required to register (if acting for or in the interests of a foreign principal). A

“publicity agent” includes “any person who engages directly or indirectly in the publication or

dissemination of oral, visual, graphic, written, or pictorial information of any kind . . . .” 22

U.S.C. § 611(d). Mr. Craig has long maintained that his very limited provision of the

Tymoshenko Report to three journalists does not, under the circumstances, qualify as

“dissemination” under the statute. Ms. Hunt now apparently takes a different view, contrary to

the determination she made on January 16, 2014. Ms. Hunt evidently now believes that any

delivery of informational material to a journalist constitutes dissemination, as does “placing two

or more copies of informational material into interstate commerce.” Some of her grand jury

testimony and interview statements to that effect are set forth in the table below.

                                       GRAND JURY (Ex. 1)
Cite                                          Hunt Testimony
23:16     …. If, if, if they're disseminating the report to media, to you know, any sections of
          public in the United States; to Congress, to the Administration, we, we want to know.
          Because if they are and they're doing it at the request or under the direction or control
          of foreign government, then there would be an obligation to register.
26:12     If they were trying to get the message out to the media or to the public or government
          officials, that's all -- would be considered political activity under the statute. Going
          back to the definition where you're trying to influence government officials, you're
          trying to influence the section of the public of the United States, trying to -- political,
          public interest of the government -- foreign government.
                                 FBI-302 of Hunt (2/21/2019) (Ex. 2)
2 of 5    Hunt stated if Craig gave the Skadden Report to the media that would have been a
          dissemination, and the FARA Unit would not have changed its conclusion.
3 of 5    At the meeting the parties talked about dissemination of the report in the terms of
          FARA. Dissemination involved placing two or more copies of informational material
          into interstate commerce. Providing informational material to one journalist causes
          dissemination to more people.

         Ms. Hunt did not explain the basis for her opinion on the meaning of disseminate in this

context. “Dissemination” is not defined in the statute or the FARA regulations. See 28 C.F.R.

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§ 5.100. Ms. Hunt’s opinion is contradicted by the plain meaning of the word. See, e.g., Random

House Dictionary of the English Language 569 (2d ed. 1987) (“to scatter or spread widely, as

though sowing seed; promulgate extensively; broadcast; disperse”). To the extent

“dissemination” is a legal term of art, it must be presented to the jury, if at all, as an instruction

from the Court. The Court should rule in limine that testimony from Ms. Hunt about the meaning

of “dissemination” under FARA § 611(c)(1) would be inadmissible as a legal conclusion or,

alternatively, as an expert opinion requiring specialized knowledge and therefore not within the

purview of a fact witness. See supra Part II.A.

               2.      A potential registrant’s purpose in engaging in conduct that provides
                       an incidental benefit to a foreign principal

        Ms. Hunt also delivered detailed opinions concerning how a duty to register is affected

when a potential registrant engages in activities that a foreign principal has requested, even if the

potential registrant is acting solely or predominantly to advance his own interests or the interests

of other domestic persons, or if the potential registrant has a motive to benefit himself (or other

domestic persons) but the conduct incidentally benefits a foreign principal. Although her

statements on these topics are not easy to decipher, Ms. Hunt apparently believes that engaging

in conduct previously requested by a foreign principal requires registration, regardless of the

potential registrant’s purpose or motive in acting. Some excerpts of her statements on this topic

are set forth below.

                                      GRAND JURY (Ex. 1)
Cite                                           Hunt Testimony
28:15    A Right. Well FARA does not have a de minimis standard, okay. You do anything --
         you do anything, you can have, you know, 15 other reasons for doing it. But if the
         [foreign] government told you to do it and you do it, and it, you know, benefits the
         other 15 reasons as well, but you've triggered registration because you have acted in
         any way to try to influence, you know, a section of the public or whatever.
46:15    A Yes. Well, that's -- that really is the gist of it right there. I mean, if they're not doing
         it, if they didn't consult with Ukraine, they didn't even inform Ukraine of what they

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         were doing -- okay, we did it—they didn't ask under the instructions, which would be
         the request, direction, order of the Ukraine and weren't acting as an agent, they
         wouldn't have an obligation to register.

         But if it was all the opposite and they did consult with Ukraine, they did discuss it with
         the Ukraine, and they did act at the order, request, or direction or control to get this
         report in the hands of the media, then there would have been a registration obligation.
47:16    …. For example if they had consulted with Ukraine about their comments to the media,
         just by itself, would that perhaps be enough?

         Q. Let's say consulted before, first.

         A. If they're consulting before with the Ukraine and say, hey, and the Ukraine says, hey
         yeah, we want you to go contact the media and make sure they get this report, then that
         would be registrable.

         Q. What if as the hypothetical we discussed previously Ukraine had said, hey, we
         would like you to provide this report to the media in the U.S.? Just that but not the
         other stuff, would you --

         A. Hey, we’d like you to do this?
         …
         A – then they do it, that would be enough to require a registration.…
                               FBI-302 of Hunt (2/21/2019) (Ex. 2)
4 of 5   If Craig gave the Skadden report to media outlets prior to those outlets having reported
         on the Skadden Report, that activity would require FARA registration if done with an
         intent to disseminate the report under the direction or control of the Ukrainian
         government.
4 of 5   If Craig knew the government of Ukraine was going to mis-characterize the Skadden
         Report and, as a result, Craig gave the Skadden Report to the New York Times to get
         ahead of that mis-characterization, Hunt stated that activity may not require registration
         if it was not done under the direction or control of a foreign principal. The same would
         be true if Craig gave the Skadden Report to the New York Times and asked the New
         York Times to hold off on reporting on the Skadden Report until other coverage
         appeared in the media.
4 of 5   Hunt was asked if FARA registration would be required if Craig’s media contacts were
         done in response to requests from the media. In reply, Hunt stated it did not matter who
         initiated the contact. What would be relevant is whether the purpose of the contact was
         to influence the public on behalf of a foreign principal. Hunt felt the decision to give
         the Skadden Report to the media was an independent decision and not done for a
         foreign principal.
4 of 5   If the government of Ukraine asked Craig to contact the New York Times via a public
         relations firm, but Craig contacted the New York Times to prevent the Ukrainian
         government from mis-characterizing the report that activity would require FARA
         registration if the government of Ukraine requested the contact. If Craig was asked by a
         foreign principal to give the Skadden Report to the New York Times, that activity

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          would require FARA registration even if Craig had personal motivations for providing
          the Skadden Report to the New York Times.
4 of 5    If the government of Ukraine asked Craig to disseminate the Skadden Report and Craig
          stated he would not disseminate the Skadden Report, but then ultimately disseminates
          the report, that activity would not require FARA registration if done for Craig’s own
          purpose.
4 of 5    If Craig provided a copy of the Skadden Report to the New York Times at the request
          of the government of Ukraine and was also asked to provide a pro-Ukrainian message
          along with providing the report to the New York Times, that activity would still require
          FARA registration if Craig provided the report and provided a less-positive modified
          version of the pro-Ukrainian message.

         Ms. Hunt’s interpretations are not just inadmissible conclusions of law – they are in some

cases erroneous.2 If Mr. Craig’s predominant purpose in communicating with the media was to

promote his own or his law firm’s interests, he was not required to register even if a foreign

principal desired Mr. Craig to engage in those communications.

         Congress amended FARA in 1966 to narrow the broad definition of “agent of a foreign

principal”; in particular, Congress limited the prohibited registrable activities of agents to those

that were performed “for or in the interests of such foreign principal.” When this legislation was

first proposed in 1963, Deputy Attorney General Katzenbach acknowledged in Senate testimony

that the appropriate jury instruction under this provision would be, “You must believe beyond a

reasonable doubt that this was done on behalf of the foreign principal and as part of that

arrangement.” [FARA] Amendments: Hearings before the Senate Foreign Relations Comm. on

S. 2136, 88th Cong. at 11-12 (1963).

         Despite Mr. Katzenbach’s concern, the modifying language remained in the bill when it

came up in the next congressional session, and Congress clearly understood it to require not just

an actual benefit to a foreign principal, but a predominant motive to cause such a benefit:

2
  Mr. Craig is not suggesting that each of Ms. Hunt’s legal interpretations quoted herein (or set forth in 302s and
grand jury testimony) is erroneous as a matter of law or that he disagrees with everything quoted; rather, the
excerpts are intended to show that Ms. Hunt provided opined on key legal topics about FARA. Mr. Craig believes
that Ms. Hunt’s commentary, taken as a whole, was frequently inconsistent and confusing, and amply demonstrates
the imprudence of pursuing a criminal prosecution tied to the registration requirements of FARA.
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                    Under existing law it is possible because of the broad scope of the
                    definitions contained in section 1(c) [FARA § 611(c)] to find an
                    agency relationship (and thus the possibility of registration) of
                    persons who are not, in fact, agents of foreign principals but whose
                    acts may incidentally be of benefit to foreign interests, even though
                    such acts are part of the normal exercise of those persons' own
                    rights of free speech, petition, or assembly. This may have been
                    desirable when the Foreign Agents Registration Act was amended
                    in 1942, but does not appear warranted in present circumstances.

H.R. Rep. No. 1470, 89th Cong. 2d Sess., at 6 (May 3, 1966) (emphasis added); see also Attorney

General v. Irish People, Inc., 796 F.2d 520, 524 (D.C. Cir. 1986); Attorney General v. Irish

Northern Aid Comm., 668 F.2d 159, 161 & n.5 (2d Cir. 1982) (both citing the foregoing

legislative history as evidence that Congress intended to limit the scope of the statute).

           Moreover, this narrowing was consistent with how the 1966 amendments simultaneously

expanded the exemption from registration in FARA § 613(d)(2), to its current version, which

now exempts from registration “[a]ny person engaging or agreeing to engage only … in other

activities not serving predominantly a foreign interest.” (Emphasis added.) The Attorney General

recognized in his 1966 report to Congress that “Section 3 [FARA § 613] was broadened to

include activities that do not serve predominantly a foreign interest, even though they are

political.” Report of the Attorney General to the Congress of the U.S. on the Administration of

FARA, as amended for the Calendar Year 1966, at 3.3 The contemporaneous Report of the

House Judiciary Committee, which drafted the key amendment to the exemption, explains its

meaning:

                    Committee Amendment No. 1 clarifies what is meant by the term
                    “other (i.e., political) activities not serving predominantly a foreign
                    interest,” as contained in S. 693 as it passed the Senate. It states, in
                    effect, that such activities will be exempt from registration
                    provided they advance the commercial, industrial or financial
                    interests of a domestic person engaged in substantial business in
                    the United States. If the activities do serve the interests of such a

3
    Available at: https://www.justice.gov/nsd-fara/page/file/991881/download (last accessed June 16, 2019).
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                 domestic firm, however, the amendment clarifies the intent that the
                 exemption shall not be lost merely because the activities also assist
                 a foreign subsidiary or a foreign parent of the U.S. company.

H.R. Rep. No. 1470, 89th Cong. 2d Sess., at 11 (May 3, 1966).

        In other words, the contemporaneous legislative history and contemporaneous

interpretation by the Department of Justice of FARA § 611(c), as well as the plain text of the

exemption under FARA § 613(d)(2), all indicate that Mr. Craig was required to register only if

his predominant purpose in communicating with the media was to assist a foreign principal. 4 The

rationale is that a person is not acting for, at the request of, or at the direction or control of a

foreign principal when his sole or primary purpose is to advance his own interests or the interests

of other domestic persons.

        The evidence will establish that Mr. Craig’s sole purpose in his communications with a

few journalists was to advance the interests of domestic persons (himself and his law firm) by


4
  At the time, the § 613(d)(2) exemption was modified by § 611(q), which provided a specific application of the
exemption in the context of U.S. companies with foreign subsidiaries or foreign companies with U.S. subsidiaries:

                 For the purpose of section 613(d) of this title, activities in furtherance of the
                 bona fide commercial, industrial or financial interests of a domestic person
                 engaged in substantial commercial, industrial or financial operations in the
                 United States shall not be deemed to serve predominantly a foreign interest
                 because such activities also benefit the interests of a foreign person engaged in
                 bona fide trade or commerce which is owned or controlled by, or which owns or
                 controls, such domestic person: Provided, That (i) such foreign person is not,
                 and such activities are not directly or indirectly supervised, directed, controlled,
                 financed or subsidized in whole or in substantial part by, a government of a
                 foreign country or a foreign political party, (ii) the identity of such foreign
                 person is disclosed to the agency or official of the United States with whom such
                 activities are conducted, and (iii) whenever such foreign person owns or controls
                 such domestic person, such activities are substantially in furtherance of the bona
                 fide commercial, industrial or financial interests of such domestic person.’’

See 22 U.S.C. § 611(q) (1966). Thus, under § 611(q), if a domestic person’s work on behalf of a U.S. subsidiary
benefited a foreign parent, the person was only required to register if the work served predominantly a foreign
interest. An exception to the exemption made clear that in this context of multinational companies, the exemption
did not apply when the foreign person was a government of a foreign country or a foreign political party. But no
such exception applied to § 613(d) generally and, moreover, § 611(q) was deleted in its entirety by the Lobbying
Disclosure Act of 1995 (LDA). Pub. L. No. 104-65, § 9, 109 Stat. 700 (Dec. 19, 1995). The LDA did not change
§ 613(d)(2), which remains in its 1966 form.


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correcting erroneous interpretations of the Tymoshenko Report that were being made by his

client and others. The jury should consider that evidence after receiving accurate instructions on

the law from the Court. Ms. Hunt should not be permitted to contradict those instructions by

offering her opinion that FARA requires registration if a person acts consistently with the

interests of a foreign principal, regardless of his purpose or motive.

                3.      Duty to supplement

         In her grand jury testimony – albeit in response to a juror question – Ms. Hunt expressed

an opinion that Mr. Craig had a duty to provide updated information to the FARA Unit after an

initial meeting. And in one of her government interviews, she stated that persons responding to

the FARA Unit’s “possible obligation letters” (POLs) have a duty to disclose all relevant

information.

                                       GRAND JURY (Ex. 1)
Cite                                           Hunt Testimony
55:16     A JUROR: What -- how do I ask this? After this meeting, and you go back and make
          your -- so this is a hypothetical -- and you make your determination, or is there an
          expectation or do you ever say to the parties involved, okay, great, thank you for, you
          know, the next day they memorialize what their request is, you do the second
          determination, hey -- or is there a standard policy, if anything else comes up or if there
          is any other information about this, please continue to keep us informed or let us know?

          Is there that kind of communication or expectation? Or is that -- has that happened
          before that if, whether it be Craig or Skadden later down the road, say Skadden
          independent down the road found out something, do they have a responsibility to come
          back to you and say, hey, by the way, we just found out blah, blah, blah?

          THE WITNESS: Yes.

          A JUROR: Okay.

          THE WITNESS: Yes, they do. And that happens. It happens a lot, mm-hmm. Yeah,
          what they do, and they -- you know? Yeah, they have a responsibility.
                                   FBI-302 of Hunt (5/15/2018) (Ex. 3)
5 of 9    HUNT was asked whether it would affect her view on the question of independence if
          Skadden had disclosed that the firm was also assisting the Ukrainian Ministry of
          Justice with preparations for another trial of Tymoshenko. HUNT said that was

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          something that should have been disclosed in response to the POL's question regarding
          "the activities the firm has engaged in or the services it has rendered" to Ukraine. The
          question was phrased in general terms for a reason; Skadden, however, limited its
          response specifically to the SA Report.
7 of 9    HUNT expects potential registrants to be truthful and complete in their responses to
          POLs[.]

         The government may claim that these excerpts allow Ms. Hunt to testify that Mr. Craig

had a duty to disclose all potentially material information to the FARA Unit in addition to

answering truthfully the specific questions the Unit posed. (Because the government has not

furnished a formal expert disclosure, Mr. Craig cannot know the government’s intention for

sure.) The duty to disclose issue has been briefed extensively in the pending motions to dismiss,

which could terminate this prosecution. Even if the motions are denied, however, the source and

nature of the duty to disclose remains a legal issue that may not be addressed by a lay witness. At

this stage, the Court should rule in limine that the matter is an issue of law that Ms. Hunt may not

testify to at trial, regardless whether she is proffered as a fact or an expert witness.

III.     CONCLUSION

         For the reasons stated, defendant Gregory B. Craig respectfully requests that his motion

in limine be granted.




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Dated: June 24, 2019                    Respectfully submitted,


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                              CERTIFICATE OF SERVICE

       I HEREBY CERTIFY that on June 24, 2019, the foregoing was served on counsel of

record via the Court’s CM/ECF service.


                                                 /s/ Ezra B. Marcus
                                              Ezra B. Marcus
